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UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEN_NESSEE

 

EASTERN DIVISION
UNITED STATES OF AMERICA,
Plaintiff,
v. Cr. No. 04-10097-T
DEMETRIUS VAN CROCKER,
Defendant.

 

ORDER GRANTING MOTION FOR LEAVE
TO FILE PRETRIAL NOTICE PURSUANT TO Fed. R. Crim. Pro. 12.2(b)

 

Upon motion of the Defendant for leave to file a Notice of Intent to lntroduce Expert
Evidence of Mental Disease or Defect and/or Mental Condition Pursuant to Fed. R. Crim. Pro.
12.2(b) and it appearing that the motion is well taken and for good cause shown,

IT IS ORDERED that Defendant’s Notice of lntent to Introduce Expert Evidence of
Mental Disease or Defect and/or Mental Condition Pursuant to Fed. R. Crim. Pro. 12.2(b) in this

case is hereby FILED INSTANTER.

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It is so ORDERED, this the 33 day of W , 2005 .

HON LE JAMES D. TODD
CHI UNITED STATES DISTRICT JUDGE

This document entered on the docket sheet in compliance

with ama ss and/ur 32(b) FHC:P on § )§;\ -&€ -OS

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 40 in
case 1:04-CR-10097 Was distributed by faX, mail, or direct printing on
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US DISTRICT COURT

